Case 23-11069- CIG, Doc 3210 Filed 04/30/24 Page 1of2.

, DEPARTMENT OF THE TREASURY |
c INTERNAL REVENUE SERVICE
zy "Washington, D.C. 20224 -- RECEIVED.
Oo APR 2-9 2024
SMALL BUSINESS/SELF-EMPLOYED DIVISION to. . : , . , .
04/16/2024 LEGAL SERVICES |
Filed: USBC - District of Delaware
Yellow Corp, ET AL . (COR) |.
23-11069(CTG) |
Yalow Corporation oe IIA
Claims Processing Center . - YRC 0000000185
c/o Epiq Corporate Restructuring LLC
PO Box 4421

- Beaverton, OR 97076-4421

Re: USF HOLLAND LLC,

Re: 23-11069@DE01

Dear Court:

Claim #3724 was filed 1 1103/2023 with US Bankruptcy court. Debtor no > longer owes the

_ Internal Revenue Service for this claim liability. Please withdraw this claim #3724.

If you have any questions, you may call me at (302)837-6561 or you may write to me at

Internal Revenue Service, Suite 212,:4051 Ogletown-Stanton Rd, Newark, DE 19713

' Sincerely,

Stefan Koprucki
Bankruptcy Advisor
Insolvency Group 3
Internal ‘Revenue Service
SB/SE, Insolvency
Room’1150 -
~ 31, Hopkins .Plaza
Baltimore, MD..21201-2852

Official Business
Penalty for Private Use, $300

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APR 29 2024

LEGAL SERVICES

Yellow Corporation

Claims Processing Center

clo Epiq Corporate Restructuring LLC
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